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 8
                                    UNITED STATES DISTRICT COURT
 9
                   NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
10
      CHASOM BROWN, WILLIAM BYATT,                    Case No. 4:20-cv-03664-YGR-SVK
11
      JEREMY DAVIS, CHRISTOPHER
12    CASTILLO, and MONIQUE TRUJILLO,                 OMNIBUS SEALING STIPULATION
      individually and on behalf of themselves and    REGARDING DKT. NOS. 1107, 1108, 1112
13    all others similarly situated,                  & 1115

14                    Plaintiffs,                     Judge: Hon. Yvonne Gonzalez Rogers
15
             vs.
16
      GOOGLE LLC,
17
                      Defendant.
18

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                                                                    Case No. 4:20-cv-03664-YGR-SVK
                                                                  OMNIBUS SEALING STIPULATION
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 1          Pursuant to Civil Local Rules 7-11 and 79-5, Judge Yvonne Gonzalez Rogers’ Standing
 2 Order in Civil Cases (the “Standing Order”), and the Stipulated Protective Order entered in this

 3 matter (Dkt. 81), Defendant Google LLC (“Google”) and Plaintiffs (collectively, the “Parties”)

 4 respectfully submit this Omnibus Sealing Stipulation in connection with Plaintiffs’ Motion for an

 5 Award of Attorneys’ Fees, Costs, and Service Awards (“Plaintiffs’ Motion”) (Dkts. 1107 – 1107-

 6 23, 1108 – 1108-5), Google’s Opposition to Plaintiffs’ Motion for an Award of Attorneys’ Fees,

 7 Costs, and Service Awards (“Google’s Opposition”) (Dkts. 1112 – 1112-37), and Plaintiffs’ Reply

 8 in Support of Motion for an Award of Attorneys’ Fees, Costs, and Service Awards (“Plaintiffs’

 9 Reply”) (Dkts. 1115 – 1115-22), which contain non-public, highly sensitive, and confidential

10 information that should be protected.

11          The Parties have met and conferred regarding the proposed sealing designations. The Parties
12 stipulate to the following chart:

13    Dkt. No.     Description
                             Sought Sealing Sealing Basis                                     Previous
                             to be    Party                                                   Requests
14                           Sealed                                                           to Seal
15    UNDISPUTED REQUESTS TO MAINTAIN A DOCUMENT UNDER SEAL OR
      PROVISIONAL REDACTIONS
16    1107-9/  Exhibit 6 to  Portion Google The information requested to be                   Dkts.
      1108-3   Mao           s of           sealed contains Google’s highly                   394, 394-
17             Declaration – Pages: -       confidential and proprietary                      9, 409,
               GOOG-         6065–          information regarding highly                      409-4
18
               BRWN-         6069           sensitive features of Google’s                    (Granted
19             00406065                     internal systems and operations,                  at Dkt.
                                            including Google’s internal                       738)
20                                          project names, functionalities,
                                            and internal metrics, that Google
21                                          maintains as confidential in the
                                            ordinary course of its business
22
                                            and is not generally known to the
23                                          public or Google’s competitors.
                                            Such confidential and
24                                          proprietary information reveals
                                            Google’s internal strategies,
25                                          system designs, and business
                                            practices for operating and
26
                                            maintaining many of its
27                                          important services, and falls
                                            within the protected scope of the
28                                          Protective Order entered in this


                                                       1                 Case No. 4:20-cv-03664-YGR-SVK
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 1    Dkt. No.   Description     Sought    Sealing       Sealing Basis                        Previous
                                 to be     Party                                              Requests
 2                               Sealed                                                       to Seal
 3                                                       action. See Dkt. 81 at 2–3.
                                                         Public disclosure of such
 4                                                       confidential and proprietary
                                                         information could affect
 5                                                       Google’s competitive standing
                                                         as competitors may alter their
 6                                                       systems and practices relating to
 7                                                       competing products. It may also
                                                         place Google at an increased risk
 8                                                       of cybersecurity threats, as third
                                                         parties may seek to use the
 9                                                       information to compromise
                                                         Google’s internal practices
10                                                       relating to competing products.
11    1107-10/   Exhibit 7 to    Portion   Google        The information requested to be      Dkts.
      1108-4     Mao             s of                    sealed contains Google’s highly      924, 925-
12
                 Declaration –   Page: -                 confidential and proprietary         10, 928,
13               GOOG-           263                     information regarding highly         928-63
                 CABR-                                   sensitive features of Google’s       (Granted
14               03827263                                internal systems and operations,     at Dkt.
                                                         including Google’s internal          969)
15                                                       project names, that Google
                                                         maintains as confidential in the
16
                                                         ordinary course of its business
17                                                       and is not generally known to the
                                                         public or Google’s competitors.
18                                                       Such confidential and
                                                         proprietary information reveals
19                                                       Google’s internal strategies,
20                                                       system designs, and business
                                                         practices for operating and
21                                                       maintaining many of its
                                                         important services, and falls
22                                                       within the protected scope of the
                                                         Protective Order entered in this
23                                                       action. See Dkt. 81 at 2–3.
24                                                       Public disclosure of such
                                                         confidential and proprietary
25                                                       information could affect
                                                         Google’s competitive standing
26                                                       as competitors may alter their
                                                         systems and practices relating to
27                                                       competing products. It may also
28                                                       place Google at an increased risk


                                                    2                   Case No. 4:20-cv-03664-YGR-SVK
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 1    Dkt. No.    Description     Sought    Sealing       Sealing Basis                        Previous
                                  to be     Party                                              Requests
 2                                Sealed                                                       to Seal
 3                                                        of cybersecurity threats, as third
                                                          parties may seek to use the
 4                                                        information to compromise
                                                          Google’s internal practices
 5                                                        relating to competing products.
      1107-14/    Exhibit 11 to   Pages:    Google        The information requested to be      Dkts.
 6    1108-5      Mao             7:6–7,                  sealed contains Google’s highly      170, 170-
 7                Declaration     7:10,                   confidential and proprietary         3, 170-4
                                  9:22,                   information regarding highly         (Granted
 8                                12:3,                   sensitive features of Google’s       at Dkt.
                                  12:5–6,                 internal systems and operations,     174)
 9                                12:8,                   including details of Google’s
                                  12:11–                  internal data storage
10
                                  12,13:2                 infrastructure, that Google
11                                3,                      maintains as confidential in the
                                  15:10,                  ordinary course of its business
12                                26:9,                   and is not generally known to the
                                  26:19                   public or Google’s competitors.
13                                                        Such confidential and
                                                          proprietary information reveals
14
                                                          Google’s internal strategies,
15                                                        system designs, and business
                                                          practices for operating and
16                                                        maintaining many of its
                                                          important services, and falls
17                                                        within the protected scope of the
                                                          Protective Order entered in this
18
                                                          action. See Dkt. 81 at 2–3.
19                                                        Public disclosure of such
                                                          confidential and proprietary
20                                                        information could affect
                                                          Google’s competitive standing
21                                                        as competitors may alter their
22                                                        systems and practices relating to
                                                          competing products. It may also
23                                                        place Google at an increased risk
                                                          of cybersecurity threats, as third
24                                                        parties may seek to use the
                                                          information to compromise
25                                                        Google’s internal practices
26                                                        relating to competing products.
      Submitted   Exhibit 3 to    Entirety Plaintiffs     Plaintiffs seek to have this         N/A
27    in camera   Broome                                  exhibit considered in camera
                  Declaration                             because it contains excerpts from
28                                                        Plaintiffs’ billing records for

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 1    Dkt. No.   Description    Sought    Sealing       Sealing Basis                        Previous
                                to be     Party                                              Requests
 2                              Sealed                                                       to Seal
 3                                                      their attorneys’ fees. As part of
                                                        briefing the attorneys’ fees
 4                                                      motion, Plaintiffs and Google
                                                        reached an agreement to submit
 5                                                      copies of Plaintiffs’ billing
                                                        records to the Court for in
 6                                                      camera review. See Dkt. 1115-
 7                                                      12 (copy of parties’ agreement).
                                                        Plaintiffs rely on the
 8                                                      concurrently filed Declaration of
                                                        Ryan McGee to support their
 9                                                      request for this material to be
                                                        reviewed in camera.
10
      1112-11    Exhibit 9 to   Pages     Google        The information requested to be      Dkts.
11               Broome         17:1,                   sealed contains Google’s highly      309, 309-
                 Declaration    17:4–5,                 confidential and proprietary         4, 309-
12                              17:16,                  information regarding highly         16, 310,
                                19:1                    sensitive features of Google’s       310-4
13                                                      internal systems and operations,     (Granted
                                                        including Google’s internal          at Dkt.
14
                                                        metrics, that Google maintains       330)
15                                                      as confidential in the ordinary
                                                        course of its business and is not
16                                                      generally known to the public or
                                                        Google’s competitors. Such
17                                                      confidential and proprietary
                                                        information reveals Google’s
18
                                                        internal strategies, system
19                                                      designs, and business practices
                                                        for operating and maintaining
20                                                      many of its important services,
                                                        and falls within the protected
21                                                      scope of the Protective Order
22                                                      entered in this action. See Dkt.
                                                        81 at 2–3. Public disclosure of
23                                                      such confidential and proprietary
                                                        information could affect
24                                                      Google’s competitive standing
                                                        as competitors may alter their
25                                                      systems and practices relating to
26                                                      competing products. It may also
                                                        place Google at an increased risk
27                                                      of cybersecurity threats, as third
                                                        parties may seek to use the
28                                                      information to compromise


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 1    Dkt. No.    Description     Sought    Sealing       Sealing Basis                        Previous
                                  to be     Party                                              Requests
 2                                Sealed                                                       to Seal
 3                                                        Google’s internal practices
                                                          relating to competing products.
 4    1112-15     Exhibit 13 to   Pages     Google        The information requested to be      Dkts.
                  Broome          94:3,                   sealed contains Google’s highly      608, 608-
 5                Declaration     94:8,                   confidential and proprietary         64, 643,
                                  94:12,                  information regarding highly         643-6
 6                                95:22                   sensitive features of Google’s       (Granted
 7                                                        internal systems and operations,     at Dkt.
                                                          including Google’s internal          804)
 8                                                        project names, that Google
                                                          maintains as confidential in the
 9                                                        ordinary course of its business
                                                          and is not generally known to the
10
                                                          public or Google’s competitors.
11                                                        Such confidential and
                                                          proprietary information reveals
12                                                        Google’s internal strategies,
                                                          system designs, and business
13                                                        practices for operating and
                                                          maintaining many of its
14
                                                          important services, and falls
15                                                        within the protected scope of the
                                                          Protective Order entered in this
16                                                        action. See Dkt. 81 at 2–3.
                                                          Public disclosure of such
17                                                        confidential and proprietary
                                                          information could affect
18
                                                          Google’s competitive standing
19                                                        as competitors may alter their
                                                          systems and practices relating to
20                                                        competing products. It may also
                                                          place Google at an increased risk
21                                                        of cybersecurity threats, as third
22                                                        parties may seek to use the
                                                          information to compromise
23                                                        Google’s internal practices
                                                          relating to competing products.
24    Submitted   Exhibit 20 to   Entirety Plaintiffs     Plaintiffs seek to have this         N/A
      in camera   Broome                                  exhibit considered in camera
25                Declaration                             because it contains excerpts from
26                                                        Plaintiffs’ billing records for
                                                          their costs. As part of briefing
27                                                        the attorneys’ fees motion,
                                                          Plaintiffs and Google reached an
28                                                        agreement to submit copies of

                                                     5                   Case No. 4:20-cv-03664-YGR-SVK
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 1    Dkt. No.   Description      Sought     Sealing       Sealing Basis                        Previous
                                  to be      Party                                              Requests
 2                                Sealed                                                        to Seal
 3                                                         Plaintiffs’ billing records to the
                                                           Court for in camera review. See
 4                                                         Dkt. 1115-12 (copy of parties’
                                                           agreement). Plaintiffs rely on the
 5                                                         concurrently filed Declaration of
                                                           Ryan McGee to support their
 6                                                         request for this material to be
 7                                                         reviewed in camera.
      1112-31    Declaration of   Pages      Google        The information requested to be      Dkts.
 8               Benjamin         2:12,                    sealed contains Google’s highly      630-1,
                 Kornacki In      2:15–                    confidential and proprietary         632, 637,
 9               Support of       19,                      information regarding highly         637-3
                 Google LLC’s     3:21,                    sensitive features of Google’s       (Granted
10
                 Opposition to    4:25–                    internal systems and operations,     at Dkt.
11               Plaintiffs’      26, 5:2,                 including Google’s internal          768)
                 Motion for an    5:12                     detection bits, and logs, as well
12               Award of                                  as internal metrics that Google      Dkts.
                 Attorneys’                                maintains as confidential in the     707, 707-
13               Fees, Costs,                              ordinary course of its business      1, 732,
                 and Service                               and is not generally known to the    732-2
14
                 Awards                                    public or Google’s competitors.      (Granted
15                                                         Such confidential and                at Dkt.
                                                           proprietary information reveals      916)
16                                                         Google’s internal strategies,
                                                           system designs, and business         Dkts.
17                                                         practices for operating and          337, 337-
                                                           maintaining many of its              3
18
                                                           important services, and falls        (Granted
19                                                         within the protected scope of the    at Dkt.
                                                           Protective Order entered in this     350)
20                                                         action. See Dkt. 81 at 2–3.
                                                           Public disclosure of such
21                                                         confidential and proprietary
22                                                         information could affect
                                                           Google’s competitive standing
23                                                         as competitors may alter their
                                                           systems and practices relating to
24                                                         competing products. It may also
                                                           place Google at an increased risk
25                                                         of cybersecurity threats, as third
26                                                         parties may seek to use the
                                                           information to compromise
27                                                         Google’s internal practices
                                                           relating to competing products.
28


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 1    Dkt. No.    Description     Sought Sealing         Sealing Basis                     Previous
                                  to be    Party                                           Requests
 2                                Sealed                                                   to Seal
 3    Submitted   Exhibit 23 to   Entirety Plaintiffs
                                             Plaintiffs seek to have this                  N/A
      in camera   Mao                        exhibit considered in camera
 4                Declaration                because it contains excerpts from
                                             Plaintiffs’ billing records for
 5                                           their costs. As part of briefing
                                             the attorneys’ fees motion,
 6                                           Plaintiffs and Google reached an
 7                                           agreement to submit copies of
                                             Plaintiffs’ billing records to the
 8                                           Court for in camera review. See
                                             Dkt. 1115-12 (copy of parties’
 9                                           agreement). Plaintiffs rely on the
                                             concurrently filed Declaration of
10                                           Ryan McGee to support their
11                                           request for this material to be
                                             reviewed in camera.
12    UNDISPUTED REQUESTS TO MODIFY EXTENT OF SEALING AND/OR
      PROVISIONAL REDACTIONS
13    1112-1      Google LLC’s Page   Google The information requested to be               Dkts.
      (modified   Opposition to 8:1–2        sealed contains Google’s highly               707, 707-
14
      redacted    Plaintiffs’                confidential and proprietary                  1, 732,
15    version     Motion for an              information regarding highly                  732-2
      attached as Award of                   sensitive features of Google’s                (Granted
16    Exhibit 1) Attorneys’                  internal systems and operations,              at Dkt.
                  Fees, Costs,               including Google’s internal                   916)
17                and Service                detection bits and logs, and
18                Awards                     internal metrics, that Google
                                             maintains as confidential in the
19                                           ordinary course of its business
                                             and is not generally known to the
20                                           public or Google’s competitors.
                                             Such confidential and
21                                           proprietary information reveals
22                                           Google’s internal strategies,
                                             system designs, and business
23                                           practices for operating and
                                             maintaining many of its
24                                           important services, and falls
                                             within the protected scope of the
25                                           Protective Order entered in this
26                                           action. See Dkt. 81 at 2–3.
                                             Public disclosure of such
27                                           confidential and proprietary
                                             information could affect
28                                           Google’s competitive standing

                                                   7                   Case No. 4:20-cv-03664-YGR-SVK
                                                                     OMNIBUS SEALING STIPULATION
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 1    Dkt. No.      Description     Sought    Sealing       Sealing Basis                        Previous
                                    to be     Party                                              Requests
 2                                  Sealed                                                       to Seal
 3                                                          as competitors may alter their
                                                            systems and practices relating to
 4                                                          competing products. It may also
                                                            place Google at an increased risk
 5                                                          of cybersecurity threats, as third
                                                            parties may seek to use the
 6                                                          information to compromise
 7                                                          Google’s internal practices
                                                            relating to competing products.
 8    1112-16       Exhibit 14 to   Page      Google        The information requested to be      Dkts.
      (modified     Broome          415:21                  sealed contains Google’s highly      695, 695-
 9    redacted      Declaration                             confidential and commercially        11
      version                                               sensitive internal revenue           (Granted
10
      attached as                                           information, that Google             at Dkt.
11    Exhibit 2)                                            maintains as confidential in the     916)
                                                            ordinary course of its business
12                                                          and is not generally known to the
                                                            public or Google’s competitors.
13                                                          Such confidential and
                                                            proprietary information reveals
14
                                                            Google’s internal metrics and
15                                                          financial data, and falls within
                                                            the protected scope of the
16                                                          Protective Order entered in this
                                                            action. See Dkt. 81 at 2–3.
17                                                          Public disclosure of such
                                                            confidential information could
18
                                                            affect Google’s competitive
19                                                          standing as competitors may
                                                            alter their systems and practices
20                                                          relating to competing products.
      1112-20       Exhibit 18 to   Portion   Google        The information requested to be      Dkts.
21    (modified     Broome          s of                    sealed contains Google’s highly      815, 815-
22    redacted      Declaration     Pages                   confidential and proprietary         1, 827,
      version                       2, 4–                   information regarding highly         827-2
23    attached as                   22, 25–                 sensitive features of Google’s       (Granted
      Exhibit 3)                    36                      internal systems and operations,     at Dkt.
24                                                          including Google’s internal          916)
                                                            detection bits and logs, and
25                                                          internal metrics and that Google     Dkts.
26                                                          maintains as confidential in the     797, 797-
                                                            ordinary course of its business      3, 797-
27                                                          and is not generally known to the    12, 797-
                                                            public or Google’s competitors.      17, 797-
28                                                          Such confidential and                21

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                                                                         OMNIBUS SEALING STIPULATION
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 1    Dkt. No.      Description     Sought   Sealing        Sealing Basis                        Previous
                                    to be    Party                                               Requests
 2                                  Sealed                                                       to Seal
 3                                                          proprietary information reveals      (Granted
                                                            Google’s internal strategies,        at Dkt.
 4                                                          system designs, and business         916)
                                                            practices for operating and
 5                                                          maintaining many of its              Dkts.
                                                            important services, and falls        809, 809-
 6                                                          within the protected scope of the    5
 7                                                          Protective Order entered in this     (Granted
                                                            action. See Dkt. 81 at 2–3.          at Dkt.
 8                                                          Public disclosure of such            916)
                                                            confidential and proprietary
 9                                                          information could affect
                                                            Google’s competitive standing
10                                                          as competitors may alter their
11                                                          systems and practices relating to
                                                            competing products. It may also
12                                                          place Google at an increased risk
                                                            of cybersecurity threats, as third
13                                                          parties may seek to use the
                                                            information to compromise
14
                                                            Google’s internal practices
15                                                          relating to competing products.
      1115-01/      Plaintiffs’     Pages    Google         The information requested to be      Dkts.
16    1115-02       Reply ISO       5:24,                   sealed contains Google’s highly      797, 797-
      (modified     Motion for an   8:14–                   confidential and proprietary         3, 797-
17    redacted      Award of        15                      information regarding highly         12, 797-
      version       Attorneys'                              sensitive features of Google’s       17, 797-
18
      attached as   Fees, Costs,                            internal systems and operations,     21
19    Exhibit 4)    and Service                             including Google’s internal logs     (Granted
                    Awards                                  and internal metrics, that Google    at Dkt.
20                                                          maintains as confidential in the     916)
                                                            ordinary course of its business
21                                                          and is not generally known to the
22                                                          public or Google’s competitors.
                                                            Such confidential and
23                                                          proprietary information reveals
                                                            Google’s internal strategies,
24                                                          system designs, and business
                                                            practices for operating and
25                                                          maintaining many of its
26                                                          important services, and falls
                                                            within the protected scope of the
27                                                          Protective Order entered in this
                                                            action. See Dkt. 81 at 2–3.
28                                                          Public disclosure of such


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 1    Dkt. No.    Description   Sought   Sealing       Sealing Basis                    Previous
                                to be    Party                                          Requests
 2                              Sealed                                                  to Seal
 3                                      confidential and proprietary
                                        information could affect
 4                                      Google’s competitive standing
                                        as competitors may alter their
 5                                      systems and practices relating to
                                        competing products. It may also
 6                                      place Google at an increased risk
 7                                      of cybersecurity threats, as third
                                        parties may seek to use the
 8                                      information to compromise
                                        Google’s internal practices
 9                                      relating to competing products.
      UNDISPUTED REQUESTS TO UNSEAL DOCUMENT
10
      1112-06     Exhibit 4 to   N/A     N/A           N/A                             N/A
11    (version    the Broome
      with        Declaration
12
      confidentia
13    lity
      designation
14    removed
      attached as
15    Exhibit 5)
16    1112-08     Exhibit 6 to   N/A     N/A           N/A                             N/A
      (version    the Broome
17    with        Declaration
      confidentia
18    lity
      designation
19    removed
20    attached as
      Exhibit 6)
21    1112-23     Declaration of N/A     N/A           N/A                             N/A
      (version    Abdelkarim
22    with        Mardini In
      confidentia Support of
23
      lity        Google LLC’s
24    designation Opposition to
      removed     Plaintiffs’
25    attached as Motion for an
      Exhibit 7) Award of
26                Attorneys’
                  Fees, Costs,
27
                  and Service
28                Awards


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                                                                  OMNIBUS SEALING STIPULATION
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 1    Dkt. No.    Description    Sought   Sealing      Sealing Basis                   Previous
                                 to be    Party                                        Requests
 2                               Sealed                                                to Seal
 3    1112-37     Declaration of N/A      N/A          N/A                             N/A
      (version    William B.
 4    with        Rubenstein In
      confidentia Support of
 5    lity        Google LLC’s
      designation Opposition to
 6    removed     Plaintiffs’
 7    attached as Motion for an
      Exhibit 8) Award of
 8                Attorneys’
                  Fees, Costs,
 9                and Service
                  Awards
10
      1115-03     Supplemental N/A        N/A          N/A                             N/A
11    (Unredacte Declaration of
      d), 1115-04 Mark C. Mao
12    (Redacted) ISO
      (updated    Plaintiffs’
13    (version    Reply ISO
      with        Motion for an
14
      confidentia Award of
15    lity        Attorneys'
      designation Fees, Costs,
16    removed     and Service
      attached as Awards
17    Exhibit 9)
18    1115-05     Exhibit 17 to   N/A     N/A          N/A                             N/A
      (version    Mao
19    with        Supplemental
      confidentia Declaration
20    lity
      designation
21    removed
22    attached as
      Exhibit
23    10)
      1115-21     Declaration of N/A      N/A          N/A                             N/A
24    (Unredacte Christopher
      d),         Thompson
25
      1115-22     ISO Plaintiffs'
26    (Redacted) Motion for an
      (version    Award of
27    with        Attorneys’
      confidentia Fees, Costs,
28    lity

                                                11                  Case No. 4:20-cv-03664-YGR-SVK
                                                                  OMNIBUS SEALING STIPULATION
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 1    Dkt. No.    Description    Sought   Sealing       Sealing Basis                         Previous
                                 to be    Party                                               Requests
 2                               Sealed                                                       to Seal
 3    designation and Service
      removed     Awards
 4    attached as
      Exhibit
 5    11)
      DISPUTED REQUESTS TO MAINTAIN A DOCUMENT UNDER SEAL OR
 6    PROVISIONAL REDACTIONS
 7    1107-1/     Motion for an Pages Google The parties have already                         Dkts.
      1108-2      Award of      23:9–        submitted arguments regarding                    1101 and
 8                Attorneys’    10,          the sealing of this information                  1103
                  Fees, Costs,  23:19        and refer the Court to those                     (Pending)
 9                                           arguments in Dkts. 1101 and
                  and Service                1103.
                  Awards
10
                                             Plaintiffs contend this
11                                           information should not be sealed
                                             because it addresses the value of
12                                           the settlement. Dkt. 1101
                                             (Plaintiffs’ opposition to
13                                           Google’s request to seal similar
                                             material in Plaintiffs’ motion for
14                                           settlement approval).

15                                                      Google contends this
                                                        information should be sealed
16                                                      because it reveals commercially
                                                        sensitive internal metrics and
17                                                      financial data. Dkt. 1103
                                                        (Google’s reply in support of its
18                                                      request to seal similar material in
                                                        Plaintiffs’ motion for settlement
19                                                      approval). The Court has
                                                        previously ordered similar
20                                                      competitively sensitive data
                                                        sealed. See Dkt. 804 at 15
21                                                      (granting motion to seal revenue
                                                        numbers in Lasinksi report (Dkt.
22                                                      608-9)).
      1112-1     Google LLC’s    Pages    Google        The parties have already              Dkts.
23               Opposition to   19:19–                 submitted arguments regarding         1101 and
                 Plaintiffs’     20,                    the sealing of this information       1103
24               Motion for an   20:7                   and refer the Court to those          (Pending)
                                                        arguments in Dkts. 1101 and
                 Award of                               1103.
25               Attorneys’
26               Fees, Costs,                           Plaintiffs contend this
                 and Service                            information should not be sealed
27               Awards                                 because it addresses the value of
                                                        the settlement. Dkt. 1101
28                                                      (Plaintiffs’ opposition to
                                                        Google’s request to seal similar

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 1    Dkt. No.      Description     Sought    Sealing       Sealing Basis                         Previous
                                    to be     Party                                               Requests
 2                                  Sealed                                                        to Seal
 3                                                          material in Plaintiffs’ motion for
                                                            settlement approval).
 4
                                                            Google contends this
 5                                                          information should be sealed
                                                            because it reveals commercially
 6                                                          sensitive internal metrics and
                                                            financial data. Dkt. 1103
 7                                                          (Google’s reply in support of its
                                                            request to seal similar material in
 8
                                                            Plaintiffs’ motion for settlement
 9                                                          approval). The Court has
                                                            previously ordered similar
10                                                          competitively sensitive data
                                                            sealed. See Dkt. 804 at 15
11                                                          (granting motion to seal revenue
                                                            numbers in Lasinksi report (Dkt.
12
                                                            608-9)).
13

14          The Parties therefore agree that the above undisputed information may be sealed in

15 connection with Plaintiffs’ Motion, Google’s Opposition, and Plaintiffs’ Reply. The Parties also

16 submit the above disputed information to the Court for sealing determination.

17          IT IS SO STIPULATED AND AGREED.

18

19 DATED: July 5, 2024

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                                                                         OMNIBUS SEALING STIPULATION
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 8                                          ATTESTATION

 9         I, Andrew Schapiro, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1(i)(3), that the

10 concurrence to the filing of this document has been obtained from each signatory hereto.

11

12 Dated: July 5, 2024

13                                                        By: /s/ Andrew H. Schapiro

14                                                             Andrew H. Schapiro
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